Case:23-01428-MCF11 Doc#:28-1 Filed:06/22/23 Entered:06/22/23 21:45:39                                                  Desc:
               Exhibit Complaint Case DCD2013-2003 Page 1 of 12
                            BY2019CV03507 09/08/2019 11:32:54 am Page 1 of 6


                                                                                                                ATTACHMENT 11
1295.040
07-101-001-208391-4

                                           COMMONWEALTH OF PUERTO RICO
                                              COURT OF FIRST INSTANCE
                                              BAYAMÓN SUPERIOR PART

    BANCO POPULAR DE PUERTO RICO                                                CIVIL NO.: DCD2013-2003
                                                                                ROOM: 502
                                 Plaintiff

                                     vs.
                                       RE:
    ALEXIS RAMIREZ ROSADO aka ALEXIS
    RAMIREZ his wife, ELSIE E. BERRIOS
    SALGADO aka ELSIE ENID BERRIOS MORTGAGE FORECLOSURE BY
    SALGAD.O and as ELSIE.E. BERRIOS   ORDINARY MEANS

                                Defendant

                                                        COMPLAINT (In Rem)

TO THE HONORABLE COURT:

           COMES NOW the plaintiff party, BANCO POPULAR DE PUERTO RICO, henceforth

“BPPR”, through its undersigned legal representative, and very respectfully STATES, ALLEGES, and

REQUESTS:

           1. The BPPR is a banking institution authorized to do business in the Commonwealth of Puerto

Rico, whose main office is located at 157 Avenida Ponce de León, Hato Rey, Puerto Rico and the postal

address is: P.O. Box 362708, San Juan, Puerto Rico 00936-2708. His Employer Social Security number is

XX-XXXXXXX.

           2. The defendant is comprised of ALEXIS RAMIREZ ROSADO aka ALEXIS RAMIREZ, his

wife, ELSIE E. BERRIOS SALGADO aka ELSIE ENID BERRIOS SALGADO and as ELSIE E.

BERRIOS, whose last known physical and postal address is: Urb. Santa Rosa 17·28 Calle 13 Bayamón,

Puerto Rico 00959.

           3. The defendant ALEXIS RAMIREZ ROSADO aka ALEXIS RAMIREZ, his wife, ELSIE E.

BERRIOS SALGADO aka ELSIE ENID BERRIOS SALGADO and as ELSIE E. BERRIOS acquired real


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25/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11     Doc#:28-1
              BY2019CV03507         Filed:06/22/23
                             09/08/2019 11:32:54 am PageEntered:06/22/23
                                                         2 of 6          21:45:39                               Desc:
               Exhibit Complaint Case DCD2013-2003 Page 2 of 12
Complaint
Banco Popular de Puerto Rico
Alexis Ramírez Rosado et al.
Page 3 of 4

estate property through deed of sale number four by Atty. José Rafael Lebrón Duran and assumed the

mortgage that encumbers the property for the amount of $91,258.00 with 7.5% annual interest and other

accessory credits.

           4. The mortgaged property acquired by the defendants is as follows:

           URBAN: Lot located in the SANTA ROSA URBANIZATION, located in the Juan Sánchez
           neighborhood of Bayamón, Puerto Rico, which is described in the urbanization registration plan,
           with the surface area and boundaries listed below: Lot number 17 of the Block A2*·, with the lot
           area of 315.00 square meters. In borders: by the NORTH, with the lot number 18, distance of 21.00
           meters; on the SOUTH, with the lot number 16, distance of 21.00 meters; on the EAST, with lot
           number 10, distance of 15.00 meters; and to the WEST, with street number 13, a distance of 15.00
           meters. It contains a concrete house for a family.

           Property 18,849. Registered to Folio 246 of Volume 416 of Bayamón, Bayamón Registry, Section
           I.

           5     The mortgage is duly registered to Folio 253, Volume 1519 of Bayamón, twelfth inscription.

           6. Pursuant to the Promissory Note granted, the BPPR disbursed the amount of the loan whose

obligation remains an unpaid balance as of April 1, 2007 of $79,064.01 of principal, plus accrued interest

and charges and to accumulate at the agreed rate from that date onwards and until its total payment, plus

the agreed amounts for costs, expenses and attorney's fees.

           7. The agreements stipulated in the loan contracts have been breached by not making payments

on their due date. giving the BPPR the right to declare it overdue and to collect the referenced loan.

           8. The BPPR is a holder and possessor in good faith of Mortgage Promissory Note described in

this Complaint which gives it the right to request foreclosure and the sale in public auction of the mortgaged

property.

           9. The defendants requested protection under the Bankruptcy Law, case No. 11-02825, Chapter 7

and have obtained discharge for which they are not personally liable for this debt. The Trustee appointed in

the bankruptcy proceeding abandoned the property described above on October 25, 2012 (Exhibit I).

           10. The legal consequence of the action taken by the Trustee is that said real estate property reverts

to the estate of the defendants herein and said property is considered as if a bankruptcy petition had not



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25/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11     Doc#:28-1
              BY2019CV03507         Filed:06/22/23
                             09/08/2019 11:32:54 am PageEntered:06/22/23
                                                         3 of 6          21:45:39                               Desc:
               Exhibit Complaint Case DCD2013-2003 Page 3 of 12
Complaint
Banco Popular de Puerto Rico
Alexis Ramírez Rosado et al.
Page 3 of 4

been filed. See Collier on Bankruptcy. 15th Edition Revised. Chapter 554 of which we include copy for

your review and analysis. In particular, we refer to the Honorable Court Section 554 Sub (3) which discusses

the effect of abandonment and provides:

                      "Although section 554 does not specify to whom property Is
                      abandoned, property may be abandoned by the trustee to any party
                      with a possessory Interest in it, Normally, the debtor ls the party
                      with a possessory Interest However, in some cases, it may be some
                      other party, such as a secured creditor who has possession of the
                      property when the trustee abandons the estate's Interest. In any event,
                      property abandoned under subsection (c) (scheduled but not
                      administered property) is deemed abandoned to the debtor.
                      Abandonment should not be considered a judicial sale of the property.
                      Therefore, when property is subject to a security interest, abandonment
                      does not take the place of a proper foreclosure sale. Even if the
                      secured party is given possession, it will still have to comply with
                      any nonbankruptcy law requirements for sale. Abandonment also
                      should not be considered to divest the court of jurisdiction to
                      enforce the rights of a debtor to claim an exemption under section
                      522."

           11. It is important to note that the defendants are currently covered by the protection of the Federal

Bankruptcy Law but the abandoned property is not. The. protection of the "automatic stay" on the property

lasts while it is part of the estate. 11 USC 362(C)(1). When the property is abandoned, it ceases to be the

property and therefore loses the protection of the stay. For debtors, the protection of the automatic stay is

understood until the bankruptcy case is closed, dismissed or in the case of Chapter 7 or 13. until the

discharge of debts is issued or denied. The lawsuit is filed against the debtors since they still maintain a

possessory interest over the property and they may want to defend it.

           12. Since the Trustee abandoned the property, the claim of the plaintiffs is an In Rem, only against

the property. It is intended only to collect the debt of the mortgage guarantee by foreclosing on the mortgage.

In the event of a deficiency in the collection of the debt, the judgment will provide that the defendants are

not personally responsible for the payment of said deficiency.



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25/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11     Doc#:28-1
              BY2019CV03507         Filed:06/22/23
                             09/08/2019 11:32:54 am PageEntered:06/22/23
                                                         4 of 6          21:45:39                               Desc:
               Exhibit Complaint Case DCD2013-2003 Page 4 of 12
Complaint
Banco Popular de Puerto Rico
Alexis Ramírez Rosado et al.
Page 3 of 4

           13. We very respectfully understand that in consideration of the above, the action filed here is valid

and appropriate in law.

           WHEREFORE, the plaintiff, BPPR, very respectfully pleads with this Honorable Court that, prior

to the corresponding legal process, issue a judgment declaring this complaint GRANTED in collection of

money and mortgage foreclosure and condemning the defendant to satisfy the BPPR the parts claimed in

the complaint; and in the event of not doing so, ordering the sale at public auction of the mortgaged property

in order to satisfy the judgment with its proceeds.

           RESPECTFULLY SUBMITTED.

           In San Juan, Puerto Rico, on July 22, 2013.



                                                                        CARLOS R. SOSA PADRO LAW OFFICE, C.S.P.
                                                                        P.O. Box 191682
                                                                        San Juan, Puerto Rico 009191682
                                                                        Tel. 250-0081, Fax 250-0 78
                                                                        E-mail: csosalaw@gmail.com

                                                                        [Signature]
                                                                        ATTY. CARLOS R. SOSA PADRÓ
                                                                        RUA 6370




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25/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11 Doc#:28-1 Filed:06/22/23 Entered:06/22/23 21:45:39                                          Desc:
               Exhibit Complaint Case DCD2013-2003 Page 5 of 12
                            BY2019CV03507 09/08/2019 11:32:54 am Page 5 of 6




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25/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11     Doc#:28-1
              BY2019CV03507         Filed:06/22/23
                             09/08/2019 11:32:54 am PageEntered:06/22/23
                                                         6 of 6          21:45:39                               Desc:
               Exhibit Complaint Case DCD2013-2003 Page 6 of 12
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25/MAY/2023 ♦ Translations & More: 787-637-4906
             BY2019CV03507
Case:23-01428-MCF11            09/08/2019
                        Doc#:28-1          11:32:54Entered:06/22/23
                                   Filed:06/22/23   am Página 1 de 621:45:39   Desc:
               Exhibit Complaint Case DCD2013-2003 Page 7 of 12
             BY2019CV03507
Case:23-01428-MCF11            09/08/2019
                        Doc#:28-1          11:32:54Entered:06/22/23
                                   Filed:06/22/23   am Página 2 de 621:45:39   Desc:
               Exhibit Complaint Case DCD2013-2003 Page 8 of 12
             BY2019CV03507
Case:23-01428-MCF11            09/08/2019
                        Doc#:28-1          11:32:54Entered:06/22/23
                                   Filed:06/22/23   am Página 3 de 621:45:39   Desc:
               Exhibit Complaint Case DCD2013-2003 Page 9 of 12
             BY2019CV03507
Case:23-01428-MCF11           09/08/2019
                       Doc#:28-1          11:32:54Entered:06/22/23
                                  Filed:06/22/23   am Página 4 de 621:45:39   Desc:
              Exhibit Complaint Case DCD2013-2003 Page 10 of 12
             BY2019CV03507
Case:23-01428-MCF11           09/08/2019
                       Doc#:28-1          11:32:54Entered:06/22/23
                                  Filed:06/22/23   am Página 5 de 621:45:39   Desc:
              Exhibit Complaint Case DCD2013-2003 Page 11 of 12
             BY2019CV03507
Case:23-01428-MCF11           09/08/2019
                       Doc#:28-1          11:32:54Entered:06/22/23
                                  Filed:06/22/23   am Página 6 de 621:45:39   Desc:
              Exhibit Complaint Case DCD2013-2003 Page 12 of 12
